       Case 4:13-cr-00115-BMM Document 157 Filed 10/14/21 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

UNITED STATES OF AMERICA,
                                               CR-13-115-GF-BMM
               Plaintiff,
      vs.

BRUCE JOHN DENNY,                                       O RDER

               Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on September 29, 2021. (Doc. 156.)

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Bad Old Man v. Arn, 474 U.S. 140,

153-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).
       Case 4:13-cr-00115-BMM Document 157 Filed 10/14/21 Page 2 of 3



      Judge Johnston conducted a revocation hearing on September 28, 2021.

(Doc. 164.) The United States accused Denny of violating his conditions of

supervised release 1) by using methamphetamine; and 2) by failing to report for

sex offender treatment. (Doc. 148.)

      At the revocation hearing, Denny admitted he had violated the terms of his

supervised release by using methamphetamine. (Doc. 151.) The Court dismissed

alleged violation 2 on the government’s motion. (Id.) Judge Johnston found that

the violation Denny admitted proved to be serious and warranted revocation, and

recommended that Deny receive a custodial sentence of 12 months and 1 day, with

a no supervised release to follow. (Doc. 156.) Denny was advised of his right to

appeal and his right to allocute before the undersigned. (Doc. 151.) The violation

proves serious and warrants revocation of Denny’s supervised release. The Court

finds no clear error in Judge Johnston’s Findings and Recommendations.

      Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 156) are ADOPTED IN FULL. IT IS FURTHER

ORDERED that Defendant Bruce John Denny be sentenced to the custody of the

United States Bureau of Prisons for 12 months and 1 day, with no supervised

release to follow.
  Case 4:13-cr-00115-BMM Document 157 Filed 10/14/21 Page 3 of 3



DATED this 14th day of October, 2021.
